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  1
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  7

  8
      Attorneys for Defendants

  9
                           UNITED STATES DISTRICT COURT
 10
                         CENTRAL DISTRICT OF CALIFORNIA
 11

 12
      JAMES DAR, LLC, a California                             2:21-cv-05422
                                                     Case No._________________
 13
      limited liability company,
 14                                                  NOTICE OF REMOVAL BY ALL
                   Plaintiffs,                       DEFENDANTS
 15

 16         v.
 17
      OJ COMMERCE, LLC, a Florida limited
 18   liability company; OJCOMMERCE.COM,
 19   A Florida Corporation; and DOES 1-10,

 20
                   Defendants.
 21

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                                 Defendants’ Notice of Removal
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  1
                TO THE HONORABLE COURT, THE PARTIES AND THEIR
  2
      RESPECTIVE ATTORNEYS OF RECORD:
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  4             Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants OJCOMMERCE, LLC and
  5   OJCOMMERCE.COM, INC. (collectively, “Defendants”) files this Notice of Removal.
  6   In support of this Notice of Removal, Defendants states on knowledge, information, and
  7
      belief:
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                1.    Plaintiff James Dar, LLC (“Plaintiff”) brought this action against
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      Defendants in the Superior Court of the State of California for the County of Los
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      Angeles, California by filing a Complaint on May 3, 2021, which is docketed as Case
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      No. 21SMCV00815 (the “Complaint”), a copy of which, with attachments, is attached
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      as Exhibit 1.
 13
                2.    Defendants were served with the Complaint on June 3, 2021.
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                3.    The basis of removal is diversity of citizenship jurisdiction. Pursuant to
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      28 U.S.C. § 1332(a), United States District Courts have original jurisdiction over all
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      civil actions in which the matter in controversy is in excess of $75,000, exclusive of
 17

 18
      interest and costs, and in which complete diversity exists between all plaintiffs and

 19   defendants.

 20             4.    There is complete diversity of citizenship, as the sole Plaintiff is
 21   completely diverse from Defendants. Plaintiff is a California limited liability company,
 22   and therefore assumes the citizenship of its members for purposes of diversity
 23   jurisdiction. The sole member of Plaintiff is an individual residing in California. See,
 24   e.g., Complaint, ¶ 1 (“Plaintiff is a limited liability company that is active, duly
 25   registered in and doing business in the State of California.”); Declaration of Shlomo Y.
 26   Hecht (“Hecht Decl.”), Ex. A (identifying only one member, Shahram Dardashti, a
 27
      resident of California). Plaintiff is therefore a resident of California.
 28
      ____________________________________________________________________________________

                                    Defendants’ Notice of Removal
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  1
             5.     OJ Commerce, LLC is a limited liability company, and therefore assumes
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      the citizenship of its members for purposes of diversity jurisdiction. The sole member
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      of OJ Commerce, LLC is an individual residing in Florida. See, e.g., Hecht Decl., ¶ 3;
  4
      Complaint, OJ Commerce LLC v. Home City, Inc., 19-cv-2974 (S.D. Fla. Filed Dec. 4,
  5
      2019) at ECF No. 1 ¶¶ 1, 4 (complaint filed by OJ Commerce, LLC asserting that its
  6
      “single member resides is Florida” and that it was completely diverse from a Delaware
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      corporation). OJ Commerce, LLC is therefore a resident of Florida. In its Complaint,
  8
      Plaintiff identifies OJ Commerce, LLC as a Florida limited liability company. Ex. 1, ¶
  9
      2. OJ Commerce, LLC’s principal place of business is also in Florida. Hecht Decl., ¶
 10
      3.
 11

 12
             6.     OJCommerce.com, Inc. is a Delaware corporation, with its principal place

 13   of business in Florida. Hecht Decl., ¶ 4 and Ex. B. Accordingly, under 28 U.S.C. §

 14   1332(c)(1), OJCommerce.com, Inc. is a citizen of Delaware and Florida, and is not a
 15   citizen of California, where Plaintiff is a citizen.
 16          7.     Defendants, like Plaintiff, are unaware of the “true names and capacities
 17   of the defendants sued … as DOES 1 through 10, inclusive.”               Ex. 1, ¶ 4. To
 18   Defendants’ knowledge, no DOE defendants have been identified or served to date.
 19   Hecht Decl., ¶ 5.
 20          8.     The matter in controversy exceeds $75,000. In the Complaint, Plaintiff
 21
      asserts that it “has suffered damages in the minimum amount of $55,642.84 and any
 22
      greater amount to be proven at trial.” Ex. 1, ¶ 39; see also Ex. 1, ¶¶ 25, 37, 51. The
 23
      Complaint also asserts that Plaintiff sent a demand letter on January 21, 2021 that
 24
      asserted that Defendants “owe[] Plaintiff … legal fees of $5,200.00 that had already
 25
      been incurred to deal with this matter ….” Ex. 1, ¶ 26. Thus, as of January 21, 2021,
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      according to Plaintiff, the matter is controversy was at least $60,842.84.
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                                    Defendants’ Notice of Removal
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             9.     Subsequent to January 21, 2021, counsel for Plaintiff and OJ Commerce,
  2
      LLC exchanged numerous correspondence, including 8 emails from Plaintiff, 5 emails
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      from OJ Commerce, and one letter from OJ Commerce. Hecht Decl., ¶ 6 and Ex. C.
  4
      Based on counsel of OJ Commerce, LLC’s calculation, OJ Commerce, LLC incurred
  5
      $5,250 in attorney’s fees just in corresponding with Plaintiff’s counsel alone. Hecht
  6
      Decl., ¶ 7. It is believed that Plaintiff’s counsel has also incurred similar attorney’s fees
  7
      during that correspondence, which would bring the total matter in controversy to at
  8
      least $66,092.84. Id. That total is before the drafting of the Complaint is even taken in
  9
      account, not to mention the remainder of this litigation against Defendants, which,
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      when added to the amount of “no less than $55,642.84” demanded in the Complaint,
 11

 12
      amounts to well over $75,000.        Counsel anticipates that Defendants, and likewise

 13   Plaintiff, will incur at least an additional $68,600.00 in attorney’s fees if this action is

 14   litigated through trial. Hecht Decl., ¶ 8. $60,842.84 (Plaintiff’s alleged damages plus
 15   attorney’s fees incurred prior to January 21, 2021) plus $68,600.00 (the estimated
 16   attorney’s fees to be incurred by Plaintiff during this case) equals $129,442.84, well
 17   over the $75,000 threshold for diversity jurisdiction. Id.
 18          10.    Furthermore, according to the Complaint (First Cause of Action – Breach
 19   of Contract – Against All Defendants), “as a direct and proximate cause of Defendant’s
 20   breach of the Invoices, Plaintiff has incurred legal fees and costs.” Ex. 1, ¶ 41.
 21
             11.    Also according to the Complaint (Second Cause of Action – Breach of
 22
      Contract – Against OJC), “[a]s a direct and proximate cause of Defendants’ failure to
 23
      pay for the Goods that were sold and supplied by Plaintiff to or on behalf of [OJ
 24
      Commerce], and in fact received by or on behalf of [OJ Commerce], Plaintiff has
 25
      incurred legal fees and costs.” Ex. 1, ¶ 53.
 26
             12.    And according to the Complaint’s Prayer for Relief, on the first and
 27
      second causes of action, “Plaintiff prays for judgment against Defendants, and each of
 28
      ____________________________________________________________________________________

                                   Defendants’ Notice of Removal
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  1
      them, as follows: “[f]or compensatory damages according to proof at trial and in an
  2
      amount no less than $55,642.84,” and “[f]or attorney’s fees pursuant to the applicable
  3
      agreement.” Ex. 1, p. 9, Prayer for Relief.
  4
                13.   “Attorney’s fees may be included in the amount in controversy if
  5
      recoverable by statute or contract.” Simmons v. PCR Technology, 209 F. Supp. 2d
  6
      1029, 1034 (N.D. Cal. 2002) (citing Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1155-
  7
      56 (9th Cir. 1998)).      “The Ninth Circuit clearly considers attorneys’ fees when
  8
      assessing amount in controversy.” Id. “Such fees necessarily accrue until the action is
  9
      resolved.” Id. “[T]he measure of fees should be the amount that can reasonably be
 10
      anticipated at the time of removal, not merely those already incurred.” Id. at 1035.
 11

 12
      Here, like in Simmons, “[w]hile attorney’s fees alone would not necessarily exceed

 13   $75,000, when viewed in combination with alleged compensatory … damages [of

 14   $55,642.84 plus $5,200 in fees incurred prior to January 21, 2021], the jurisdictional
 15   minimum is clearly satisfied.” Id. Specifically, with the $60,842.84 (Plaintiff’s alleged
 16   damages plus attorney’s fees incurred prior to January 21, 2021) plus $68,600.00 (the
 17   estimated attorney’s fees to be incurred by Plaintiff during this case) equaling
 18   $129,442.84, well over the $75,000 threshold for diversity jurisdiction. Id.; Hecht Decl.,
 19   ¶ 8.
 20             14.   This Notice of Removal is timely. It has been filed with this Court within
 21
      30 days of Defendants’ receipt on June 3, 2021, “through service or otherwise, of a
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      copy of the initial pleading setting forth the claim for relief upon which such action or
 23
      proceeding is based,” as provided by 28 U.S.C. § 1446(b). Pursuant to 28 U.S.C. §
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      1446(a), Defendants represent that apart from the Complaint and associated
 25
      attachments, they have received no other process, pleadings, motions, or orders in this
 26
      action.
 27

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                                    Defendants’ Notice of Removal
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  1
             15.    Accordingly, jurisdiction over the subject matter of this case is conferred
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      by 28 U.S.C. §§ 1332(a)(1), and removal is proper pursuant to 28 U.S.C. § 1441(a).
  3
             16.    Pursuant to 28 U.S.C. § 1446, Defendants are filing with this Notice of
  4
      Removal a copy of all process, pleadings, and orders it has received. Copies of all such
  5
      papers are attached as Exhibit 1.
  6
             17.    A copy of this Notice of Removal will be served upon Plaintiff and filed
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      with the Clerk of Court of the Superior Court of the State of California for the County
  8
      of Los Angeles, California to effect removal of this action to the United States District
  9
      Court for the Central District of California, pursuant to 28 U.S.C. § 1446(d).
 10
             Having established all the requirements for removal under 28 U.S.C. §§ 1441
 11

 12
      and 1446, including all jurisdictional requirements established by 28 U.S.C. § 1332,

 13   Defendants hereby removes this case to the United States District Court for the Central

 14   District of California.
 15

 16                                         Respectfully submitted,
 17                                         LT PACIFIC LAW GROUP LLP
 18

 19   DATED: July 2, 2021
                                            By: /s/ Jen-Feng Lee
 20

 21                                             Jen-Feng Lee
                                                Kenneth K. Tanji, Jr.
 22
                                                17800 Castleton Street, #560
 23                                             City of Industry, CA 91748
                                                T: 626-810-7200
 24
                                                Attorneys for Defendants
 25

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  1
                               CERTIFICATE OF SERVICE
  2

  3
            I hereby certify that I electronically filed the foregoing documents with the
  4
      Clerk of the Court for the United States District Court for the Central District of
  5
      California by using the CM/ECF system on July 2, 2021:
  6

  7            DEFENDANTS’ NOTICE OF REMOVAL WITH EXHIBIT; and
  8             DECLARATION OF SHLOMO Y. HECHT WITH EXHIBITS
  9

 10         Counsel for Plaintiff is being served via U.S. Mail at the following:
 11   Selena Rejhani, Esq.
 12   ROJHANI LAW GROUP
      120 El Camino Dr., #116
 13
      Beverly Hills, CA 90212
 14
            I certify under penalty of perjury that the foregoing is true and correct.
 15

 16

 17

 18
      Dated: July 2, 2021                          /s/ Jen-Feng Lee
 19
                                                      Jen-Feng Lee
 20

 21

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      ____________________________________________________________________________________

                                 Defendants’ Notice of Removal
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